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 2                                                                            FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON

 3
                                                                      Jul 13, 2022
 4                                                                       SEAN F. MCAVOY, CLERK




 5                        UNITED STATES DISTRICT COURT

 6                      EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                      No. 1:17-CR-2040-LRS-1

 8                       Plaintiff,                 ORDER GRANTING
                                                    DEFENDANT’S MOTION TO
 9                       v.                         EXPEDITE AND DENYING
                                                    DEFENDANT’S MOTION TO
10   JOEL SOLORIO ESPINO,                           REOPEN DETENTION HEARING

11                       Defendant.                 ECF Nos. 116, 117

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13         On Wednesday, July 13, 2022, the Court conducted a hearing on

14   Defendant’s Motion to Reopen Detention Hearing (ECF No. 116) and related

15   Motion to Expedite (ECF No. 117). Defendant was represented by Assistant

16   Federal Defender Nick Mirr. Assistant United States Attorney Thomas Hanlon

17   represented the United States. With Defendant’s consent, Defendant appeared by

18   video from the Yakima County Jail.

19         “[Federal Rule of Criminal Procedure] 32.1(a)(6) governs release pending a

20   hearing on a violation of probation or supervised release.” Fed. R. Crim. P. 46(d).

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22   ORDER - 1
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 1   Under that Rule, the Court may release or detain a defendant pursuant to 18 U.S.C.

 2   § 3143(a) pending further proceedings. Fed. R. Crim. P. 32.1(a)(6). Defendant

 3   bears the burden of establishing by clear and convincing evidence that Defendant

 4   is not a risk of flight or a danger to any other person or the community. Id.; see

 5   also 18 U.S.C. § 3143(a).

 6         The Court has considered the petitions, the arguments of counsel, and the

 7   testimony of United States Probation Officer Araceli Mendoza. Defendant,

 8   through counsel, requested release to inpatient drug treatment at the James Oldham

 9   Treatment Center (JOTC). The Court’s concerns with the treatment integrity of

10   JOTC, combined with its concerns regarding Defendant’s honesty and ability to

11   comply with Court orders, in addition to the reasons stated on the record, form the

12   basis for the Court’s conclusion that Defendant has not met his burden of

13   establishing by clear and convincing evidence he is not a flight risk or danger to

14   the community. Accordingly, the Court denies Defendant’s request for release

15   pending the revocation hearing.

16         Based on the foregoing, IT IS ORDERED:

17         1.     Defendant’s Motion to Expedite (ECF No. 117) is GRANTED.

18         2.     Defendant’s Motion to Reopen Detention Hearing (ECF No. 116) is

19   DENIED. Defendant shall remain held in detention pending disposition of this

20   case or until further order of the Court.

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22   ORDER - 2
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 1         3.    If a party seeks review of this Order by another court pursuant to 18

 2   U.S.C. § 3145(b), counsel shall adhere to the Detention Order Review Protocol

 3   found in LCrR 46(k).

 4         IT IS SO ORDERED.

 5         DATED July 13, 2022.

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                                _____________________________________
 7                                    ALEXANDER C. EKSTROM
 8                               UNITED STATES MAGISTRATE JUDGE

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22   ORDER - 3
